      Case 3:22-cv-00689-LL-BGS Document 6 Filed 06/13/22 PageID.79 Page 1 of 1



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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   SHELIA EDWARDS, individually, and                    Case No.: 22cv689-LL-BGS
     on behalf of all others similarly situated,,
12
                                         Plaintiff,       ORDER GRANTING JOINT
13                                                        MOTION TO EXTEND
     v.                                                   DEFENDANT’S TIME TO RESPOND
14
                                                          TO COMPLAINT
     DIALAMERICA MARKETING, INC.,
15
                                       Defendant.         [ECF No. 4]
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18         On June 10, 2022, the parties filed a Joint Motion requesting a thirty-day extension
19   of time for Defendant to respond to the complaint. ECF No. 5. For good cause shown, the
20   Court GRANTS the Joint Motion. Defendant shall file a response to the complaint on or
21   before July 14, 2022.
22         IT IS HEREBY ORDERED
23   Dated: June 13, 2022
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